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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

DASHA LONG, Individually and on behalf

of her minor children, M.L., and L.L.,
as mother and general guardian

Plaintiffs
v. . Case No. 1:21-cv~00881
GABLES RESIDENTIAL SERVICES, INC, 7
and
BERKSHIRE APARTMENTS, LLC

Defendants.

CERTIFCATE REQUIRED BY LCvR 103

I, the undersigned, counsel of record for Defendant, Berkshire Apartments, LLC, certify

that to the best of my knowledge and belief, defendant Berkshire Apartments, LLC has no
subsidiaries or affiliates which have any outstanding securities in the hands of the public.
Philadelphia Insurance Companies, a Member of the Tokio Marine Group and a

subsidiary of Philadelphia Consolidated Holding Corp., One Bala Plaza, Suite 100, Bala

Cynwyd, Pennsylvania 19004, issued a commercial general liability insurance policy that was in

effect at the time of the injury alleged in the Complaint.

These representations are made in order that judges of this Court may determine the need

for recusal.

Respectfully submitted,

JORDAN COYNE LLP
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Counsel for Defendants

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on August Ww 2021, a copy of the foregoing was filed and

served through the Court’s CM/ECF system and via email upon:

Catherine Cone, Esquire

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D. Stephenson Schwinn

